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4                             UNITED STATES DISTRICT COURT

5                         EASTERN DISTRICT OF CALIFORNIA

6

7     UNITED STATES OF AMERICA,              No. 2:15-cr-00125-GEB
8                     Plaintiff,
9           v.                               ORDER FINDING DEFENDANT LACKS
                                             AUTHORITY TO FILE A MOTION AND
10    BENJAMIN MACIAS,                       DISREGARDING DEFENDANT’S FILING
11                    Defendant.
12

13               The Clerk of the Court (“Clerk”) provided chambers with

14   a   preprinted    form    “Routing   Slip”   titled   “Requesting    Chambers

15   Review,” to which the Clerk attached Defendant Benjamin Macias’s

16   “Motion to Dismiss for Failure to State a Claim” (“Motion”) stamped

17   “FILED” on October 4, 2018.

18               The motion is disregarded since Mr. Macias is currently

19   represented by counsel.        However, the motion shall be filed on the

20   public docket.

21               Dated:   October 16, 2018

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